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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                              ____________________________


UNITED STATES OF AMERICA,

               Plaintiff,
                                                              File no. 1:12-CR-98
v.
                                                              HON. ROBERT HOLMES BELL
PABLO RAZO FIERRO,

               Defendant.
                                         /


                    ORDER SETTING PRETRIAL AND JURY TRIAL

       IT IS HEREBY ORDERED that jury trial in this matter shall commence on August

17, 2015 at 9:00 a.m. at 60l Ford Federal Building, Grand Rapids, MI, 49503.1

       IT IS FURTHER ORDERED that a final pretrial conference shall before Magistrate

Judge Ellen S. Carmody on August 4, 2015 at 11:30 a.m. at 650 Ford Federal Building,

Grand Rapids, MI, 49503. The attendance of the defendant at the final pretrial is required.

       All pending motions shall be heard at the time of pre-trial on August 4, 2015.

       IT IS FURTHER ORDERED that at the final pretrial conference the parties shall:

               l.      Agree upon admissibility of exhibits (if possible)
                       which shall have been previously marked for
                       identification.


       1
       A list of criminal cases set for trial on this date can be found on the court's website, which
is: www.miwd.uscourts.gov. The list will be found under "Judges’ Info.” for Judge Robert Holmes
Bell.
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             2.      Any party intending to introduce into evidence
                     summaries pursuant to FED. R. EVID. 1006 must
                     make available at or before the final pretrial
                     conference copies of all such summaries and
                     duplicates of the supporting documents
                     summarized.

             3.      Agree upon the qualifications of expert witnesses.

             4.      Enter into stipulations of uncontested facts.

             5.      Submit proposed voir dire questions and trial
                     briefs (optional with defendant).

             6.      Discuss any legal issues which may arise during
                     the course of trial.

             7.      Discuss jury instructions. This Court uses the
                     Sixth Circuit's Pattern Criminal Jury Instructions
                     (West Publishing).

             8.      Advise the court of the status of any plea
                     negotiations.




Date: July 6, 2015                               /s/ Robert Holmes Bell
                                                 ROBERT HOLMES BELL
                                                 UNITED STATES DISTRICT JUDGE




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